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16
                                  UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18
                                       SAN FRANCISCO DIVISION
19

20    IN RE: UBER TECHNOLOGIES, INC.,                 Case No. 3:23-md-03084-CRB
      PASSENGER SEXUAL ASSAULT
21    LITIGATION                                      DECLARATION OF KYLE SMITH
                                                      REGARDING SERVICE OF ORDER
22                                                    GRANTING MOTIONS TO WITHDRAW
      This Document Relates to:                       AS COUNSEL
23
      J.H. v. Uber Technologies, Inc., et al.,        Judge:     Hon. Charles R. Beyer
24    Case No. 3:24-cv-03441-CRB                      Courtroom: 6 – 17th Floor
25    C.H. v. Uber Technologies, Inc., et al.,
      Case No. 3:24-cv-04363-CRB
26
      L.D. v. Uber Technologies, Inc., et al.,
27    Case No. 3:24-cv-05306-CRB

28    R.D. v. Uber Technologies, Inc., et al.,
      Case No. 3:24-cv-05393-CRB

      SMITH DECLARATION REGARDING SERVICE OF
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 1
      J.K. v. Uber Technologies, Inc., et al.,
 2    Case No. 3:24-cv-05463-CRB

 3    M.P. v. Uber Technologies, Inc., et al.,
      Case No. 3:24-cv-05688-CRB
 4
      A.O. v. Uber Technologies, Inc., et al.,
 5    Case No. 3:24-cv-05717-CRB

 6    T.F. v. Uber Technologies, Inc., et al.,
      Case No. 3:24-cv-05768-CRB
 7
      C.C. v. Uber Technologies, Inc., et al.,
 8    Case No. 3:24-cv-05962-CRB

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1                                     DECLARATION OF KYLE SMITH
2            I, Kyle Smith, declare pursuant to 28 U.S.C. § 1746:
3            1.      I am over the age of 18 and am a resident of Arlington, Virginia. I respectfully
4     submit this declaration explaining how Uber served a copy of the Court’s February 3, 2025 Order
5     Granting Motions to Withdraw, ECF 2221, on Plaintiffs J.H., C.H., L.D., R.D., J.K., M.P., A.O.,
6     T.F. and C.C. (“Plaintiffs”).
7            2.      I am a partner at the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP,
8     representing Defendants Uber Technologies, Inc., Rasier, LLC, and Rasier-CA, LLC (“Uber”) in
9     this MDL as well as in Judicial Council Coordination Proceeding No. 5188, In Re: Uber Rideshare
10    Cases, Case No. CJC-21-005188. I am a member in good standing of the Bar of the District of
11    Columbia Court of Appeals and the Bar of the State of New York, Appellate Division, Third
12    Department. I make this declaration based upon matters within my own personal knowledge. If
13    called as a witness, I could and would competently testify to the matters set forth herein.
14           3.      The Plaintiffs all previously provided Uber with discovery, including Ride Receipts
15    or Ride Information Forms pursuant to Pretrial Order No. 5, and Plaintiff Fact Sheets pursuant to
16    Pretrial Order No. 10. These discovery materials included both a physical mailing address and
17    email address associated with Plaintiffs J.H., C.H., L.D., R.D., M.P., and C.C., respectively. For
18    Plaintiffs J.K., A.O. and T.F., these discovery materials included a physical mailing address, but
19    not an email address, associated with each Plaintiff.
20           4.      On February 5, 2025, counsel for Uber emailed former counsel for each of the
21    Plaintiffs identifying the physical mailing addresses and email addresses that Uber received during
22    discovery associated with the relevant Plaintiff or Plaintiffs. Counsel for Uber requested that
23    Plaintiffs’ former counsel inform Uber of any different physical mailing or email addresses for the
24    Plaintiffs to which counsel for Uber should send the Court’s Order.
25           5.      On February 6, 2025, Peiffer Wolf Carr Kane Conway & Wise, LLP (“Peiffer
26    Wolf”), former counsel to Plaintiffs J.H. and L.D., provided counsel for Uber with a different
27    physical mailing address and email address by which Plaintiff L.D. could be contacted. Peiffer
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1     Wolf confirmed that Peiffer Wolf was not aware of any different any different physical mailing
2     addresses or email addresses by which Plaintiff J.H. could be contacted.
3            6.      On February 7, 2025, Nachawati Law Firm (“Nachawati”), former counsel to
4     Plaintiff C.H., confirmed that Nachawati was not aware of any different any different physical
5     mailing addresses or email addresses by which Plaintiff C.H. could be contacted.
6            7.      On February 7, 2025, Slater Slater Schulman LLP (“Slater”), former counsel to
7     Plaintiffs R.D., J.K., M.P., A.O. and T.F., provided counsel for Uber with email addresses by
8     which Plaintiffs J.K., M.P., A.O. and T.F. could be contacted. Slater confirmed that aside from
9     these additional email addresses, Slater was not aware of any different physical mailing addresses
10    or email addresses by which Plaintiff R.D., J.K., M.P., A.O. or T.F. could be contacted.
11           8.      On February 7, 2025, Pulaski Kherkher, PLLC (“Pulaski”), former counsel to
12    Plaintiff C.C., provided Uber with a different email address by which Plaintiff C.C. could be
13    contacted. Pulaski confirmed that Pulaski was not aware of any different physical mailing
14    addresses by which Plaintiff C.C. could be reached.
15           9.      On February 7, 2025, counsel for Uber served Plaintiff J.H. with the letter attached
16    to this declaration as Exhibit A. Exhibit 2 of that letter contains the Court’s February 3, 2025
17    Order Granting Motions to Withdraw.
18           10.     Counsel for Uber served Plaintiff J.H. with this letter via three different methods:
19    (1) producing the letter to J.H.’s MDL Centrality profile, (2) emailing the letter to the email address
20    identified in J.H.’s Plaintiff Fact Sheet, and (3) depositing the letter for delivery via certified mail
21    to the physical mailing address identified in J.H.’s Plaintiff Fact Sheet.
22           11.     On February 7, 2025, counsel for Uber served Plaintiff C.H. with the letter attached
23    to this declaration as Exhibit B. Exhibit 2 of that letter contains the Court’s February 3, 2025
24    Order Granting Motions to Withdraw.
25           12.     Counsel for Uber served Plaintiff C.H. with this letter via three different methods:
26    (1) producing the letter to C.H.’s MDL Centrality profile, (2) emailing the letter to the email
27    address identified in C.H.’s Plaintiff Fact Sheet, and (3) depositing the letter for delivery via
28    certified mail to the physical mailing address identified in C.H.’s Plaintiff Fact Sheet.
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1            13.     On February 7, 2025, counsel for Uber served Plaintiff L.D. with the letter attached
2     to this declaration as Exhibit C. Exhibit 2 of that letter contains the Court’s February 3, 2025
3     Order Granting Motions to Withdraw.
4            14.     Counsel for Uber served Plaintiff L.D. with this letter via three different methods:
5     (1) producing the letter to L.D.’s MDL Centrality profile, (2) emailing the letter to the email
6     address identified by Peiffer Wolf, and (3) depositing the letter for delivery via certified mail to
7     the physical mailing address identified by Peiffer Wolf.
8            15.     On February 7, 2025, counsel for Uber served Plaintiff R.D. with the letter attached
9     to this declaration as Exhibit D. Exhibit 2 of that letter contains the Court’s February 3, 2025
10    Order Granting Motions to Withdraw.
11           16.     Counsel for Uber served Plaintiff R.D. with this letter via three different methods:
12    (1) producing the letter to R.D.’s MDL Centrality profile, (2) emailing the letter to the email
13    address identified in R.D.’s Ride Receipt, and (3) depositing the letter for delivery via certified
14    mail to the physical mailing address identified in R.D.’s Plaintiff Fact Sheet.
15           17.     On February 7, 2025, counsel for Uber served Plaintiff J.K. with the letter attached
16    to this declaration as Exhibit E. Exhibit 2 of that letter contains the Court’s February 3, 2025
17    Order Granting Motions to Withdraw.
18           18.     Counsel for Uber served Plaintiff J.K. with this letter via three different methods:
19    (1) producing the letter to J.K.’s MDL Centrality profile, (2) emailing the letter to the email address
20    identified by Slater, and (3) depositing the letter for delivery via certified mail to the physical
21    mailing address identified in J.K.’s Plaintiff Fact Sheet.
22           19.     On February 7, 2025, counsel for Uber served Plaintiff M.P. with the letter attached
23    to this declaration as Exhibit F. Exhibit 2 of that letter contains the Court’s February 3, 2025
24    Order Granting Motions to Withdraw.
25           20.     Counsel for Uber served Plaintiff M.P. with this letter via three different methods:
26    (1) producing the letter to M.P.’s MDL Centrality profile, (2) emailing the letter to the email
27    address identified by Slater, and (3) depositing the letter for delivery via certified mail to the
28    physical mailing address identified in M.P.’s Plaintiff Fact Sheet.
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1            21.     On February 7, 2025, counsel for Uber served Plaintiff A.O. with the letter attached
2     to this declaration as Exhibit G. Exhibit 2 of that letter contains the Court’s February 3, 2025
3     Order Granting Motions to Withdraw.
4            22.     Counsel for Uber served Plaintiff A.O. with this letter via three different methods:
5     (1) producing the letter to A.O.’s MDL Centrality profile, (2) emailing the letter to the email
6     address identified by Slater, and (3) depositing the letter for delivery via certified mail to the
7     physical mailing address identified in A.O.’s Plaintiff Fact Sheet.
8            23.     On February 7, 2025, counsel for Uber served Plaintiff T.F. with the letter attached
9     to this declaration as Exhibit H. Exhibit 2 of that letter contains the Court’s February 3, 2025
10    Order Granting Motions to Withdraw.
11           24.     Counsel for Uber served Plaintiff T.F. with this letter via three different methods:
12    (1) producing the letter to T.F.’s MDL Centrality profile, (2) emailing the letter to the email address
13    identified by Slater, and (3) depositing the letter for delivery via certified mail to the physical
14    mailing address identified in T.F.’s Plaintiff Fact Sheet.
15           25.     On February 7, 2025, counsel for Uber served Plaintiff C.C. with the letter attached
16    to this declaration as Exhibit I. Exhibit 2 of that letter contains the Court’s February 3, 2025 Order
17    Granting Motions to Withdraw.
18           26.     Counsel for Uber served Plaintiff C.C. with this letter via three different methods:
19    (1) producing the letter to C.C.’s MDL Centrality profile, (2) emailing the letter to the email
20    address identified by Pulaski, and (3) depositing the letter for delivery via certified mail to the
21    physical mailing address identified in C.C.’s Plaintiff Fact Sheet.
22           I declare under penalty of perjury that the foregoing is true and correct.
23           Executed on February 10, 2025, in New York, NY.
24
                                                              /s/ Kyle Smith
25                                                                Kyle Smith
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